 Case: 1:21-cv-05331 Document #: 42 Filed: 11/16/21 Page 1 of 2 PageID #:1381

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Peanuts Worldwide LLC
                                                         Plaintiff,
v.                                                                    Case No.:
                                                                      1:21−cv−05331
                                                                      Honorable Jorge L.
                                                                      Alonso
The Partnerships and Unincorporated Associations
Identified on Schedule "A", et al.
                                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, November 16, 2021:


         MINUTE entry before the Honorable Jorge L. Alonso: The Court grants Sensible
Store's motions to dissolve [37] [39] as they relate to Sensible Store only. On November
10, 2021, this Court held a hearing regarding Plaintiff's motion for preliminary injunction.
Counsel for Sensible Store appeared and asked that the Court dissolve the temporary
restraining order (previously granted) and objected to the entry of a preliminary injunction
as to its client, Sensible Store. Although Plaintiff's motions and proposed ordersincluding
a revised proposed order submitted to the Court's proposed order inbox on November 12,
2021never asked for the entry of a preliminary injunction or temporary restraining order
against any store identified as "Sensible Store," see [22], Sensible's letter [39] copies text
purportedly contained in a notice from Amazon.com that directed Sensible to this case.
Furthermore, Plaintiff filed a response to Sensible's motion [40] indicating that it has not
and is not attempting to obtain a restraining order or preliminary injunction against
Sensible Store. It appears that Amazon may have inadvertently restrained Sensible's
account on the basis of this Court's prior temporary restraining order. The Court,
therefore, reiterates that this Court's October 14, 2021 order does not restrain any funds
related to Sensible Store, who is not a party−defendant in this case. Accordingly, Sensible
Store's motions [37] [39] are granted to the extent that Sensible's fund are being restrained
under the authority of any prior order issued by this Court. This order in no way overrules
or conflicts with any valid order from any other U.S. court or other order from a judge in
the Northern District of Illinois. Notice mailed by Judge's staff (lf, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
 Case: 1:21-cv-05331 Document #: 42 Filed: 11/16/21 Page 2 of 2 PageID #:1382

refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
